       Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 1 of 10




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

LAKE MARTIN REALTY, INC., et al.,             )
                                              )
        Plaintiffs,                           )
                                              )
        v.                                    )    CIV. ACT. NO. 3:18cv798-ECM
                                              )                (WO)
THE LAKE MARTIN REAL ESTATE                   )
COMPANY, LLC,                                 )
                                              )
        Defendant.                            )

                         MEMORANDUM OPINION and ORDER

        On September 13, 2018, the Plaintiffs, Lake Martin Realty, Inc. and Lake

Martin Realty, LLC, filed this trademark infringement and unfair competition action

against Defendant The Lake Martin Real Estate Company, LLC. (Doc. 1). The

Plaintiffs also filed a motion for preliminary injunction (doc. 2) seeking to prevent

the Defendant from using the name and mark “Lake Martin Realty.” (Docs. 2 &

27).

        The Plaintiffs invoke the Court’s federal question jurisdiction pursuant to 28

U.S.C. § 1331 and 15 U.S.C. § 1121 stemming from their claims brought pursuant

to the Trademark Act of 1946, 15 U.S.C. § 1051 et seq. The Court has supplemental

jurisdiction of the state law claim under 28 U.S.C. § 1367(a).

        Now pending before the Court is the Plaintiffs’ motion for a preliminary

injunction (doc. 2), and motion for leave to amend the complaint (doc. 18). The
          Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 2 of 10




proposed amended complaint asserts no new causes of action or legal claims but

rather clarifies facts related to the name “Lake Martin Realty.” (Id. at 2). After

being given the opportunity, the Defendant has not objected to the motion to amend

the complaint.1 Accordingly, the motion to amend the complaint will be granted.

Because the Court will grant the motion to amend, the “amended complaint

supersedes the initial complaint and becomes the operative pleading in the case.”

Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194, 1202 (11th Cir. 2011) (quoting

Lowery v. Ala. Power Co., 483 F.3d 1184, 1219 (11th Cir. 2007)). Consequently,

for the purpose of this opinion, the Court refers to the amended complaint as the

operative complaint.

              On December 19, 2018, the Court held an evidentiary hearing on the motion

for preliminary injunction. The motion is now fully briefed and ripe for resolution.

Upon consideration of the evidence before the Court, and the arguments of counsel,

the Court concludes that the Plaintiffs’ motion for a preliminary injunction (doc. 2)

is due to be denied.

                                                               DISCUSSION

              The Plaintiffs, Lake Martin Realty, Inc. and Lake Martin Realty, LLC, seek a

preliminary injunction to prevent the Defendant, The Lake Martin Real Estate


                                                            
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  The defendant references the amended complaint in her post-hearing brief in opposition to the
motion for preliminary injunction (doc. 26) but offers no reason why the motion to amend the
complaint should be denied.
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    Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 3 of 10




Company, LLC, from using the name and mark “Lake Martin Realty.” (Docs. 2 &

27). The decision to grant or deny a preliminary injunction “is within the sound

discretion of the district court.” Palmer v. Braun, 287 F.3d 1325, 1329 (11th Cir.

2002).

      To prevail on their motion for a preliminary injunction, the Plaintiffs bear the

burden of demonstrating the following:

      (1) a substantial likelihood of success on the merits of the underlying
      case, (2) the movant will suffer irreparable harm in the absence of an
      injunction, (3) the harm suffered by the movant in the absence of an
      injunction would exceed the harm suffered by the opposing party if the
      injunction issued, and (4) an injunction would not disserve the public
      interest.

North Am. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d 1211, 1217 (11th Cir.

2008) (quoting Johnson & Johnson Vision Care, Inc. v. 1-800 Contacts, Inc., 299

F.3d 1242, 1246-47 (11th Cir. 2002)). See also Klay v. United Healthgroup, Inc.,

376 F.3d 1092, 1097 (11th Cir. 2004) (quoting Siegel v. Lepore, 234 F.3d 1163, 1176

(11th Cir. 2000) (en banc) (per curiam)). “In this Circuit, [a] preliminary injunction

is an extraordinary and drastic remedy not be granted unless the movant clearly

established the ‘burden of persuasion’ as to each of the four prerequisites.” Siegel,

234 F.3d at 1176.

      In their motion for preliminary injunction, the Plaintiffs assert that they have

a protectable interest in the name and mark of Lake Martin Realty. The Plaintiffs

concede that they do not have a registered trademark, but they assert that while the
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    Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 4 of 10




mark they are attempting to protect is “descriptive,” because the mark has

established a secondary meaning, they can protect it. (Doc. 23 at 6-7). The Court

pretermits discussion of whether the Plaintiffs can establish a substantial likelihood

of success on the merits of the underlying case because the Court concludes that the

Plaintiffs have failed to demonstrate that they “will suffer irreparable harm” if the

Court does not grant a preliminary injunction. Berber v. Wells Fargo Bank, N.A., -

--F. App’x ---, ---, 2019 WL 126749, *2 (11th Cir., Jan. 8, 2019) (“A court need not

examine all of four prongs, because if, as here, no showing of irreparable injury is

made, the injunction cannot be issued.”).

      “A showing of irreparable injury is the sine qua non of injunctive relief.”

Siegel, 234 F.3d at 1176 (internal quotations omitted).

      Significantly, even if Plaintiffs establish a likelihood of success on the
      merits, the absence of a substantial likelihood of irreparable injury
      would, standing alone, make preliminary injunctive relief improper. . ..
      As we have emphasized on many occasions, the asserted irreparable
      injury “must be neither remote nor speculative, but actual and
      imminent.”

Id. at 1176-77.

      In essence, the Plaintiffs argued that because there was a likelihood of

confusion between Lake Martin Realty and The Lake Martin Real Estate Company,

that possibility of confusion was sufficient to demonstrate irreparable harm. The

Court disagrees. The Plaintiffs presented no evidence of actual or imminent injury

to their reputation. At the hearing on their motion for preliminary injunction, Steve
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    Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 5 of 10




Arnberg, vice-president of real estate sales for Russell Lands, when asked what

damage Lake Martin Realty had suffered as a result of The Lake Martin Real Estate

Company’s business, responded:

      A:     That’s a good question. But my concern is not what I’ve lost.
             It’s what I could lose.

(Doc. 23 at 43).

      Lake Martin Realty’s marketing director testified that she was not aware of

any way in which The Lake Martin Real Estate Company, through advertising, had

hurt Lake Martin Realty. (Id. at 87-88).

      Q:     When you did a search, a Google search, and googled Lake
             Martin real estate, it was your company that came up; correct?

      A:     Correct.

      Q:     And second in line was one of your company’s agents; correct?

      A:     Correct.

      Q:     Nowhere on there did The Lake Martin Real Estate Company
             even come up.

      A:     That doesn’t mean it won’t in the future. And if that’s –

      Q:     But I am asking right now, as we’re sitting here today.

      A:     Correct.

      Q:     Okay. So from that standpoint, are you aware in any way how
             The Lake Martin Real Estate Company, by and through any
             advertising, has hurt Lake Martin Realty?

      A:     It is my job to protect our brand and to promote our brand.
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    Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 6 of 10




      Q:     I’m asking are you aware –

      MR. HILL:           Your Honor, the witness is answering the question.

      THE COURT:          I disagree. You need to answer the question. It’s a
                          pretty straightforward question. Go ahead. Ask the
                          question.

            *      *      *
            (Previous question was read by the reporter: So from that
      standpoint, are you aware in any way how The Lake Martin Real Estate
      Company, by and through any advertising, has hurt Lake Martin
      Realty?)

      A:     No.

(Doc. 23 at 87-88).

      Lake Martin Realty’s financial secretary testified that she could quantify the

number of sales that The Lake Martin Real Estate Company made, and she could

calculate the total dollar amount of those sales. (Id. at 98). So any alleged damages

would be quantifiable. Finally, vice-president and general counsel for Russell

Lands, Steve Forehand testified that he was concerned that The Lake Martin Real

Estate Company “could experience growth pretty dramatically,” and he wanted to

“nip it in the bud.” (Id. at 114). This is not evidence of actual or imminent,

irreparable economic or reputational harm that mandates preliminary injunctive

relief. At best, Lake Martin Realty’s harm is remote, prospective and wholly

speculative. TransUnion Risk and Alternative Data Solutions, Inc. v. Challa, 676 F.




                                          6 
 
       Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 7 of 10




App’x 822, 825 (11th Cir. 2017) (“For an injury to be irreparable, it must be “neither

remote nor speculative, but actual and imminent.”).

         An injury is “irreparable” only if it cannot be undone through monetary
         remedies. The key word in this consideration is irreparable. Mere
         injuries, however, substantial in terms of money, time and energy
         necessarily expended in the absence of a stay, are not enough. The
         possibility that adequate compensatory or other corrective relief will be
         available at a later date, in the ordinary course of litigation, weighs
         heavily against a claim of irreparable harm.

Northeastern Fla. Chap. Of Ass’n of Gen. Contractors of Am. v. City of Jacksonville,

Fla., 896 F.2d 1283, 1285 (11th Cir. 1990) (internal citations omitted). This is not

a case where the Plaintiffs do not have an adequate remedy at law to recover

damages.

         While economic harm will not satisfy the irreparable-harm element in
         many cases, that general rule does not necessarily hold where there is
         no adequate remedy at law to recover damages for the harm suffered.
         See Odebrecht Const., Inc. v. Sec'y, Fla. Dep't of Transp., 715 F.3d
         1268, 1289 (11th Cir. 2013) (concluding that monetary damages were
         irreparable because they could not be recovered against a state agency
         due to the agency’s Eleventh Amendment immunity); Texas v. Seatrain
         Int'l, S. A., 518 F.2d 175, 179 (5th Cir. 1975) (concluding that economic
         loss was irreparable where monetary damages were not “susceptible of
         specific proof”).
 
    Transcon. Gas Pipe Line Co., LLC v. 6.04 Acres, More or Less, Over Parcel(s) of

Land of Approximately 1.21 Acres, More or Less, Situated in Land Lot 1049, 910

F.3d 1130, 1165 (11th Cir. 2018), cert. denied sub nom. Goldberg v. Transcon. Gas

Pipe Line Co., LLC, 2019 WL 1116465 (Apr. 29, 2019). The Court concludes that



                                            7 
 
          Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 8 of 10




the Plaintiffs have failed to meet their burden of demonstrating a threat of irreparable

injury sufficient to a warrant a preliminary injunction.

              Finally, the Plaintiffs’ own actions militate against a finding of irreparable

injury. The Plaintiffs first wrote to Dusty Bowles, the owner of the Defendant

limited liability corporation, in July 2018 requesting that she discontinue use of the

name “Lake Martin Real Estate.”2 (Doc. 22, Prel. Inj. Hr’g, Pls’ Ex. 26). On July

18, 2018, Bowles declined to change the name of The Lake Martin Real Estate

Company. (Id., Pls’ Ex. 27). On July 31, 2018, Forehand again wrote Bowles

threatening her with litigation if she did not change the name. (Id., Pls’ Ex. 28). On

August 8, 2018, Bowles again declined to change the name of the company. (Id.,

Pls’ Ex. 29).

              On September 13, 2018, the Plaintiffs filed their complaint and motion for

preliminary injunction in this Court. (Docs. 1 & 2). The Court set the motion for

preliminary injunction for a hearing on December 19, 2018. On December 20, 2018,

the Court ordered the parties to file post-hearing briefs in January 2019. On January

7, 2019, the parties filed a joint motion for an extension of time to file post-hearing

briefs. (Doc. 20). The Plaintiffs agreed to extending the deadline for filing briefs

until February 1, 2019. (Id.). On January 24, 2019, the Defendant filed an



                                                            
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      Although the letter is dated April 11, 2018, Steve Forehand testified that the date was a
scrivner’s error and he wrote the letter in July, 2018.
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     Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 9 of 10




unopposed motion to extend the time for filing the post-hearing briefs until February

15, 2019. (Doc. 24 at 2). Since the filing of post-hearing briefs, the Plaintiffs have

filed nothing. See Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir.

2016) (“Despite the alacrity with which Wreal failed its complaint, for months,

Wreal conducted no discovery and made just routine, case-management filings in

the district court.”).

       [T]he very idea of a preliminary injunction is premised on the need for
       speedy and urgent action to protect a plaintiff’s rights before a case can
       be resolved on its merits. Cf. Univ. of Tex. v. Camenisch, 451 U.S. 390,
       395, 101 S.Ct. 1830, 1834, 68 L.Ed.2d 175 (1981); All Care Nursing
       Serv., Inc. v. Bethesda Mem’l Hosp., Inc., 887 F.2d 1535, 1539 (11th
       Cir. 1989). For this reason, our sister circuits and district courts within
       this Circuit and elsewhere have found that a party’s failure to act with
       speed or urgency . . . necessarily undermines a finding of irreparable
       harm.”

Wreal, 840 F.3d at 1248.

       The Court readily concludes that the Plaintiffs have failed to demonstrate that

they would suffer irreparable harm, and thus, they have filed to establish the second

prerequisite for the issuance of a preliminary injunction. See Wreal, 840 F.3d at

1248 (The Plaintiffs “must meet all four prerequisites to obtain a preliminary

injunction, failure to meet even one dooms its appeal.”) “[A] preliminary injunction

is an extraordinary and drastic remedy not to be granted unless the movant clearly

established the ‘burden of persuasion’ as to each of the four prerequisites.” Four

Seasons Hotel and Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th


                                           9 
 
    Case 3:18-cv-00798-ECM-SRW Document 28 Filed 05/01/19 Page 10 of 10




Cir. 2003) (quoting McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir.

1998)).


                                   CONCLUSION

      For the reasons as stated, it is

      ORDERED that the Plaintiffs’ motion for a preliminary injunction (doc. 2) be

and is hereby DENIED.

      Done this 1st day of May, 2019.

                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE




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